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11
                                 IN THE UNITED STATES DISTRICT COURT
12
                              FOR THE EASTERN DISTRICT OF CALIFORNIA
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15    RALPH COLEMAN, et al.,                            2:90-cv-00520 LKK JFM P

16                                        Plaintiffs,   NOTICE OF FILING SEALED
                                                        DOCUMENT
17                     v.

18    ARNOLD SCHWARZENEGGER, et
      al.,
19
                                        Defendants.
20

21
                                               INTRODUCTION
22
                On May 23, 2007, this Court ordered Defendant Department of Mental Health (DMH)
23
     to file monthly reports reflecting referrals, pending referrals, rejections, and transfer of inmates
24
     from any level of outpatient mental health care to any level of inpatient mental health care, and
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     from any level of inpatient mental health care to a different level of mental health care. The
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     report must include a complete list of all class members currently waiting for transfer to any
27
     level of DMH hospital care. Such identifying patient information is subject to a protective order
28
     entered in this action on January 12, 2007.
     Notice of Filing Sealed Document
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 1                                              NOTICE

 2          Notice is hereby given under Local Rule 39-141(c), that Defendant Department of Mental

 3 Health is filing a document in compliance with the Court’s May 23, 2007 Order under seal and

 4 shall manually file the document and serve copies upon the parties.

 5          Dated: April 15, 2008

 6
                                                 Respectfully submitted,
 7
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13                                               /s/ Misha D. Igra

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